        Case 1:18-cv-08855-LGS-SN Document 55 Filed 08/23/19 Page 1 of 8



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
YSAEL ESPINOSA,                                                        :
                                                                       :
                                      Plaintiff,                       :
                                                                       :
                   -against-                                           :   18 Civ. 8855 (LGS) (SN)
                                                                       :
ABRAHAM REFRIGERATION CORP. d/b/a :
ABRAHAM REFRIGERATION and ABRAHAM :
PEREZ,                                                                 :
                                                                       :
                                      Defendants.                      :
---------------------------------------------------------------------- X




            PLAINTIFF’S REPLY MEMORANDUM OF LAW IN FURTHER
          SUPPORT OF APPLICATION FOR ATTORNEYS’ FEES AND COSTS




                                         Gianfranco J. Cuadra
                                           Lillian Marquez
                                           Louis Pechman
                                      Pechman Law Group PLLC
                                    488 Madison Avenue, 17th Floor
                                      New York, New York 10022
                                          Tel.: (212) 583-9500

                                   Attorneys for Plaintiff Ysael Espinosa
       Case 1:18-cv-08855-LGS-SN Document 55 Filed 08/23/19 Page 2 of 8



       Plaintiff Ysael Espinosa submits this Memorandum of Law in Further Support of

his Application for Attorneys’ Fees and Costs (ECF No. 50 (the “Application”)) and in

reply to Defendants’ Opposition to the Application (Opp’n, ECF Nos. 52–53). For the

reasons set forth in the Application and below, the Application should be granted in its

entirety.

                                            ARGUMENT

I.     The Number of Hours Spent Responding to Defendants’ Frivolous Defense Is
       Reasonable

       Defendants’ general attack as to the time billed by Plaintiff’s counsel ignores the

role their own litigation tactics played in ratcheting up counsel’s fees. While thirty hours

of defense work may have been the limit of Defendants’ appetite—work that ultimately

resulted in a judgment against Defendants in all respects—Plaintiff’s counsel performed

what work was actually necessary to prosecute the case and defend against Defendants’

frivolous defense that Plaintiff was an exempt intern.

       As detailed in the Application, many hours were expended in this case to pursue

discovery Defendants failed to timely produce and debunk evidence Defendants put

forth in support of its bogus intern defense. Application at 14–16. Initially, Defendants

produced an unsigned, typed letter in English purportedly authored by Plaintiff’s

mother, Dr. Marisol Espinosa, a Spanish-only speaker, conveniently stating that Plaintiff

worked for Defendants to learn as an intern.1 Only near the close of discovery was a

signed version of the letter provided. To expose the letter as a fraud, Plaintiff had to

investigate its origins and obtain an affidavit from Dr. Espinosa declaring that

Defendants’ letter had been written for her, was not completely translated to her, and




1
       The letter can be found at ECF No. 39–10. If necessary, counsel can also file it again with the Court.
       Case 1:18-cv-08855-LGS-SN Document 55 Filed 08/23/19 Page 3 of 8



was inaccurate except for the fact that Plaintiff was hired as a favor to his mother.

Defendants argue that the affidavit was unnecessary because it was not admitted, Opp’n

at 4, but that belies the reality that the affidavit likely dissuaded Defendants from

presenting the fraudulent letter at trial, thus mooting the need for the affidavit as

evidence. Defendants’ objections to the reasonableness of the time spent on these matters

must be rejected. See Gortat v. Capala Bros., 621 Fed. App’x. 19, 23 (2d Cir. 2015) (affirming

fee award that was unusually high and exceeded merits award because “this result was

attributable primarily to the Defendants’ litigation tactics”).

       To the extent Defendants argue Plaintiff overstaffed the case by assigning two

attorneys to the trial, no case law supports their position. To the contrary, courts typically

approve fees for up to two attorneys at court appearances. Houston v. Cotter, 234 F. Supp.

3d 392, 407 (E.D.N.Y. 2017). Adding another attorney only to help handle the increased

workload that comes with trial and to assist with a half-day trial is not excessive but

prudent. Cf. id. (cutting attorneys’ fees due to overstaffing where four attorneys attended

eight days of trial and billed 1,000 hours at trial alone). As to the other tasks Defendants

challenge as excessively long, Defendants fail to cite case law supporting a reduction of

the time spent for those tasks. Accordingly, the time spent by Plaintiffs’ counsel was

reasonable.

II.    Defendants Fail to Undermine the Reasonableness of the Rates Requested

       In questioning the reasonableness of the rates billed by Plaintiff’s counsel,

Defendants fundamentally misconstrue the applicable test to determine the “reasonable

rate.” Specifically, they argue that the rates requested could not be paid by “low-income

clients” like Plaintiff. Opp’n at 7. To be clear, there is no consideration given to a specific

client’s ability to afford attorney’s fees. Orient Overseas Container v. Crystal Cove Seafood,

No. 10 Civ. 3166 (PGG) (GWG), 2012 WL 6720615, at *9 (S.D.N.Y. Dec. 28, 2012) (“[C]ase

                                              2
       Case 1:18-cv-08855-LGS-SN Document 55 Filed 08/23/19 Page 4 of 8



law notes that ‘[t]he appropriate measure is the market rate for [the attorney’s] services

by clients who can afford them, not [the] client’s perceived ability to pay.’”). It is therefore

entirely appropriate for the Court to consider the rates paid by Pechman Law Group’s

(“PLG”) hourly-paying clients to determine the prevailing market rate, as well as those

paid to similarly experienced New York City attorneys. See Arbor Hill Concerned Citizens

Neighborhood Ass’n v. Cnty. of Albany & Albany Cnty. Bd. of Elections (“Arbor Hill”), 522 F.3d

182, 190 (2d Cir. 2008) (considering the prevailing market rate in the relevant geographic

area and a number of other factors unrelated the financial resources of any of the parties

to the case in determining the “reasonable rate”).

       In light of the prevailing market rates amongst both plaintiff-side and

management attorneys, which Defendants completely ignore, PLG’s rates are reasonable.

Defendants do not specifically challenge the rates charged by Mr. Pechman. See generally

Opp’n. Although there is no decision awarding Mr. Cuadra and Ms. Marquez the rates

requested here, as argued in the Application, courts considering their rates have failed to

consider PLG’s customary hourly rates. See Application at 4; see, e.g., Eren v. Gulluoglu,

No. 15 Civ. 4083, Dkt. No. 73 (E.D.N.Y. Aug. 28, 2018). When properly considered, these

customary hourly rates, which are “strong evidence of what the market will bear,” Rozell

v. Ross-Holst, 576 F. Supp. 2d 527, 544 (S.D.N.Y. 2008), justify the associate rates sought.

       Defendants also confuse another factor in determining the reasonable rate:

assessing the degree of “novelty or difficulty of the questions” involved in the case. Arbor

Hill, 522 F.3d at 186 n.3 (internal citation omitted). Although the Second Circuit has

already created a multi-factor test for determining whether a worker is an unpaid intern,

Defendants raised a somewhat novel (albeit meritless) legal theory that an employee who

was in fact paid and performed non-exempt yard work was nevertheless an “unpaid



                                              3
       Case 1:18-cv-08855-LGS-SN Document 55 Filed 08/23/19 Page 5 of 8



intern” within the framework of the Second Circuit’s test as it related to his service-call

work. This factor, while not conclusive, nevertheless supports the rates requested.

III.   Plaintiff Negotiated in Good Faith and Appropriately Prosecuted His Case to
       Trial

       Defendants improperly disclose confidential settlement demands in an effort to

challenge the reasonableness of counsel’s fee. Opp’n at 10–12; Decl. of Adam Weiss

¶¶ 13–15.   Rule 408 prohibits the reliance on settlement offers in Court with few

exceptions not applicable here. See Siracuse v. Program for the Dev. of Human Potential, No.

07-CV-2205, 2012 WL 1624291, at *19–21 (E.D.N.Y. Apr. 30, 2012) (deeming “defendant’s

reference to the settlement discussions and amounts offered [a]s inappropriate” per FRE

408’s prohibition). Even were the Court to consider the specifics of the parties’ settlement

negotiations, “[a]bsent a showing of bad faith, ‘a party’s declining settlement offers

should [not] operate to reduce an appropriate fee award.”’ Ortiz v. Regan, 980 F.2d 138,

141 (2d Cir.1992) (quoting Cowan v. Prudential Ins. Co. of Am., 728 F. Supp. 87, 92 (D. Conn.

1990) (stating that “[a] rule giving trial judges discretion to deny [attorney's] fees where

the refusal of an offer is shown after the fact to have been unwise might well lead to very

uneven results and even misuse in cases in which judges become involved in settlement

negotiations”)), rev'd on other grounds, 935 F.2d 522 (2d Cir. 1991). That is so even where

the defendant’s offer was greater than the jury’s award. Siracuse, 2012 WL 1624291, at

*19–21 (“Similarly, defendant has failed to provide any support for the novel argument

that plaintiff should be denied fees because, in defendant’s view, plaintiff’s counsel acted

unreasonably in failing to accept defendant’s settlement offer.”).

       There has been no showing of bad faith here. Plaintiff’s counsel has detailed in

their Application their exhaustive efforts to settle this case, in which Defendants

doggedly held to a baseless legal theory. (Pechman Decl., ECF No. 51.) The Court found


                                             4
       Case 1:18-cv-08855-LGS-SN Document 55 Filed 08/23/19 Page 6 of 8



in Plaintiff’s favor on all of Plaintiff’s claims and awarded all of the claimed damages.

(ECF No. 45.) Rather than “bully” or “coerce[]” Defendants to settle, Opp’n at 10, 12,

Plaintiff repeatedly attempted to resolve this case at a discount for the benefit of both

parties, to avoid additional expenses related to pre- and post-trial submissions and the

trial itself. In this regard, although Defendants reiterate that they are a “small family-

owned business” and could not afford a large judgment, id., they provided no proof of

any inability to pay (e.g., tax returns and bank accounts) despite repeated requests for

such support by Plaintiff.

       Contrary to Defendants’ disingenuous and unfounded accusation that Plaintiff's

counsel acted against its client’s interest in pursuit of court-awarded fees, id., Plaintiff

could not justify to the Court in a fairness review accepting a discounted settlement

amount with a long payout period without proof of Defendants’ financial condition. See

Lliguichuzhca v. Cinema 60, LLC, 948 F. Supp. 2d 362, 365 (S.D.N.Y. 2013) (“Case law

recognizes that potential difficulty in collecting damages militates in favor of finding a

settlement reasonable.”); see also Alleyne v. Time Moving & Storage Inc., 264 F.R.D. 41, 57

(E.D.N.Y. 2010) (requiring “hard proof” that employer “cannot afford, from a

strictly financial standpoint, to pay more to settle the class claims” in assessing

reasonableness of settlement). Moreover, absent a settlement, Plaintiff was obligated to

continue prosecuting his case, in accordance with the requirements of the Federal Rules

of Civil Procedure. See Fed. R. Civ. P. 41 (providing that the Court must dismiss a case if

plaintiff fails to prosecute it.) Plaintiff’s exercise of the tools provided in federal court to

prove his case, including going to trial, is not a basis for reducing the fees requested.




                                              5
       Case 1:18-cv-08855-LGS-SN Document 55 Filed 08/23/19 Page 7 of 8



IV.    Plaintiff’s Compensable Motion in Limine Was Necessitated by Defendants’
       Evasiveness

       Plaintiff’s mooted motion in limine is also fully compensable. As a preliminary

matter, “[w]hile a district court should not award fees for unsuccessful claims that are

separable from Plaintiffs’ successful claims, see Dominic v. Consol. Edison Co. of N.Y., 822

F.2d 1249, 1259 (2d Cir.1987), there is no rule that Plaintiffs need achieve total victory on

every motion in pursuit of a successful claim in order to be compensated for the full

number of hours spent litigating that claim.” Gortat, 621 F. App’x at 23; Rozell, 576 F.

Supp. 2d at 539 (noting that fees may be disallowed for some unsuccessful motions but

nevertheless awarding fees for a motion that is “part of the routine give and take of

litigation”). Here, all of Plaintiff’s claims were successful and his motion in limine was

simply denied as moot.

       The motion was not, as Defendants argue, made in bad faith. Opp’n at 9. At his

deposition, Defendant Perez identified several potential trial witnesses not listed in

Defendants’ initial disclosures or interrogatory responses, including Plaintiff’s uncle, an

employee named “Waldin,” and “some customers.”              (ECF No. 29-1 ¶ 21.)      When

Plaintiff’s counsel requested revised disclosures and interrogatory responses on March

27, 2019, Defendants’ counsel stated, “[O]ur response stands that at this time Mr. Perez is

the only witness we may call at trial.”          (ECF No. 29-7 (emphasis added).)       That

representation, by its own terms, was subject to change up until the time the parties

committed to their witness lists in the Joint Pretrial Order (“JPTO”). Because the Court

scheduled motions in limine to be filed in April, one month prior to the JPTO, (ECF No.

27), Plaintiff moved to preclude Defendants from calling anyone other than Mr. Perez.

Only after Defendants’ counsel confirmed to the Court that they would only call Mr.

Perez at trial did the Court deem the motion moot. Defendants have failed to show that


                                             6
       Case 1:18-cv-08855-LGS-SN Document 55 Filed 08/23/19 Page 8 of 8



Plaintiff’s motion was made in bad faith or otherwise noncompensable in light of

Defendants’ non-binding and equivocal representation as to their witness list. Cf. Deferio

v. Bd. of Tr. of State Univ. of New York, No. 5:11-CV-0563, 2014 WL 295842, at *10 (N.D.N.Y.

Jan. 27, 2014) (rejecting defendant’s argument to reduce attorneys’ fees when plaintiff

stopped pursuing moot motion upon receiving evidence of mootness). Accordingly,

Plaintiff should be awarded fees for work performed in drafting the motion in limine.

                                     CONCLUSION

       For all of the foregoing reasons and those explained in the Application, Plaintiff

Ysael Espinosa respectfully requests that the Court award him attorneys’ fees in the

amount of $76,920.00 and costs of $2,050.25, for a total of $78,970.25.

Dated: New York, New York
       August 23, 2019
                                                 PECHMAN LAW GROUP PLLC


                                                 By: s/ Gianfranco J. Cuadra
                                                     Gianfranco J. Cuadra
                                                     Louis Pechman
                                                     Lillian M. Marquez
                                                     488 Madison Avenue, 17th Floor
                                                     New York, New York 10022
                                                     Tel.: (212) 583-9500
                                                     Fax: (212) 409-8763
                                                     cuadra@pechmanlaw.com
                                                     pechman@pechmanlaw.com
                                                     marquez@pechmanlaw.com
                                                     Attorneys for Plaintiff Ysael Espinosa


To:    Adam C. Weiss, Esq.
       The Law Firm of Adam C. Weiss, PLLC
       3 School Street, Ste 303
       Glen Cove, New York 11542
       Tel.: (516) 277–2323
       adam@acweisslaw.com
       Attorney for Defendants




                                             7
